Case 8:20-cv-02478-WFJ-AEP Document1 Filed 10/23/20 Page 1 of 13 PagelD 1

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Pro Se | (Rev. 12/16) Complaint for a Civil Case

UNITED STATES DISTRICT COURT..., ..~ 5. m7
for the — we Se

Middle District of Florida CEERI, US DISTRICT COUR

MIDDLE DISTRICT FLORID:

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Tampa__ Division Scene eas wee

Case No. 812A EV 24x81 or Ee

(to be filled in by the Clerk's Office)

 

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Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional

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Jury Trial: (check one) [| Yes [_]No
page with the full list of names.) )
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Car Co\eor Defendant(s) uty § tj
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page

with the full list of names.)
COMPLAINT FOR A CIVIL CASE

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if
needed.

 

 

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Street Address G07 | Uh Cre NvO

City and County CATON OLY \meAlas

State and Zip Code al UY Aa - 5 1Sle

 

Telephone Number 191504 4105 | 4727 334 7-1 64S
E-mail Address Sh 4] mall.con [Xs te MCalle@girwul.

B. The Defendant(s)
Provide the information below for each defendant named in the complaint, whether the defendant is an

individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (ifknown). Attach additional pages if needed.

Page | of 5
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Pro Se | (Rev. 12/16) Complaint for a Civil Case

Defendant No. |

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Job or Title (if known) sarc ath

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City and County (\tonoctur, Pinellas
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Telephone Number 4237-404 -b@ai | \ 79) | ;

E-mail Address (if known)

 

Defendant No. 2

 

 

 

 

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Defendant No. 3 Sens
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Street Address SSSD Wimernin Road
City and County \ vern Pw cilas
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E-mail Address (if known) WOW . WDC 6D Who. CCYY)
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Defendant No. 4

Name Rin ota [Ludhiran Fo avi cw
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City and County Lo Q XQ 0 GS.

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Defendants M07

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Case 8:20-cv-02478-WFJ-AEP Document 1 Filed 10/23/20 Page 4 of 13 PagelD 4

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case
I. Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court; cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)

Federal question [ Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, ie Var and/or provisions 10) a States Constitution that
are at issue in this case. M|) nel LB) @na Parner Adb andl ee <4 Curyenelinent

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B. If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)
a. If the plaintiff is an individual

The plaintiff, (name) | QQyusNne Bry an | J uruni aso citizen of the

State of name) PY Q da vo —_

b. If the plaintiff is a corporation

The plaintiff, (name) , is incorporated

 

 

under the laws of the State of (name) ’

 

and has its principal place of business in the State of (name)

 

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

 

 

2. The Defendant(s)
a. If the defendant is an individual nundrq
The defendant, (name) ? \\ JC \\\o, Wwiicherd | y Mu el , is a citizen of
the State of (name) Elon cA (\ . Oris a citizen of

(foreign nation)

 

Page 3 of 5
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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

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b. If the defendant is a corporation Leatherenn my Pera

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The defendant, (name)St Ore HOT ey ad |ituy _ , is incorporated under
the laws of the State of (name) Ff) w”) da , and has its

principal place of business in the State of (name) €\ mda

 

Or is incorporated under the laws of (foreign nation) j

 

and has its principal place of business in (name)

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
stake-is more than $75,000, not counting interest and costs of court, because (explain): Q\UUIe

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III. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

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State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include

the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or

punitive money damages. Our Oni\d ren Ware Wwna\ molly remorcet
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Pro Se | (Rev. 12/16) Complaint for a Civil Case

 

 

V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: BOA x LY LD

Signature of Plaintiff AP. /

Printed Name of Plaintiff \ ( it WA CSN a Wyant! Jerent wibeherd

B. For Attorneys

Date of signing:

 

Signature of Attorney

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm

 

Street Address
State and Zip Code

 

 

Telephone Number

E-mail Address

 

 

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